Docusign Envelope ID: 33BCC720-D451-4C27-AD28-D974EF46E628
                    Case 1:25-cv-00402-AHA             Document 36-4     Filed 02/24/25     Page 1 of 1




                                        DECLARATION OF ELISABETH SIGLER


            I, Elisabeth Sigler, declare as follows:


                 1. I am the Co-General Counsel for HIAS. I submit this declaration in support of a Motion
                    to Enforce the Court’s temporary restraining order (TRO). The statements made in this
                    declaration are based on my personal knowledge and my understanding of information
                    made available to me pursuant to my duties at HIAS.

                 2. Since the Court’s TRO was issued on February 13, 2025, HIAS has not received
                    payments on its approximately $6.4 million in outstanding requests for reimbursement
                    from the United States Government (U.S. Agency for International Development, U.S.
                    Department of State Bureau of Population, Refugees, and Migration, U.S. Department of
                    State Bureau of Democracy, Human Rights, and Labor).

                 3. Since the stop work orders and directly due to the lack of funding by the U.S.
                    government, HIAS has been forced to issue 344 notices of layoffs worldwide.

                 4. Also, directly due to the lack of funding by the U.S. Government, HIAS will be forced to
                    lay off a substantial number of its workforce at headquarters and, as of today’s date, plans
                    to do so this week.

                 5. HIAS has incurred significant costs in order to comply with the agencies’ stop work
                    orders, including providing severance mandated by local law in various countries.

                 6. HIAS, due to the lack of funding by the U.S. Government, plans to shutter the doors on
                    all but five to seven (out of 24) HIAS country offices.


            I declare under penalty of perjury that the foregoing is true and correct.


            Executed on February 24, 2025 in Washington, District of Columbia.


            ____________________
            HIAS
